 Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 1 of 25               PageID #: 1
      \J\\ir\
Bosko Petricevic              8443
P.O. Box 38                                                          FILED IN THE
                                                              UNITED STATES DISTRICT COURT
Honolulu, Hawaii 96810                                            DISTRICT OF HAWAII
Telephone: (402)301-3716
                                                                     JUN 2 2 2020
                                                              at ^ o'clock and^'^min. 0 M
E-mail:         boskopetricevic@hotmail.com                  CLERK, U.S. DISTRICT COURT
                                                                                       LS
Pro-Se
                                                                                      fm
                            In the United States District Court

                                For The District Of Hawaii


BOSKO PETRICEVIC,                            Civil No.


              Plaintiffs,                   C V20 00283 DKW
                                             Complaint; Summons
        vs.

PATRICK SHIN; RICHARD WILSON;
JOHN DWYER;TERRY REVERE;
NAN INC.,a domestic profit
corporation.

                Defendants.




                                        Complaint


              Plaintiff BOSKO PETRICEVIC ("Plaintiff), Pro-Se, hereby brings his

Complaint against Defendants PATRICK SHIN,RICHARD WILSON,JOHN DWYER,

TERRY REVERE and NAN,Inc.("Defendants") and alleges and states as follows:

                                          Parties


              1.     At all times relevant herein. Plaintiff Bosko Petricevic("Plaintiff)is a

resident of Honolulu, Hawaii. Further, Bosko Petricevic is a State of Hawaii licensed

attorney employed the by the Hawaii law firm.


Fed
 Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 2 of 25           PageID #: 2


            2.       At all times relevant herein, Defendant PATRICK SHIN ("Defendant

Shin")is a resident ofthe City and County ofHonolulu,State ofHawaii,and owner ofNan,

Inc. - Hawaii construction company, who still lives in Honolulu, Hawaii.

             3.      At all times relevant herein. Defendant Richard Wilson ("Defendant

Wilson")is a State ofHawaii licensed attorney and a resident ofHonolulu,Hawaii who still

lives in Honolulu, Hawaii.

            4.       At all times relevant herein. Defendant Jack Dwyer ("Defendant

Dwyer")is a State ofHawaii licensed attorney and a resident ofHonolulu,Hawaii who still

lives in Honolulu, Hawaii.

             5.      At all times relevant herein. Defendant Terry Revere ("Defendant

Revere")is a State ofHawaii licensed attorney and a resident ofHonolulu,Hawaii who still

lives in Honolulu, Hawaii.

            6.       At all times relevant herein. Defendant NAN,Inc.("NAN")is an

employer within the meaning of Title VII. NAN's principal place of business is in

Honolulu, Hawai'i.

            7.       Upon information and belief, and at all times relevant herein, NAN's

employees, agents and/or representatives, were acting within the course and scope of

their duties as employees, agents and/or representatives of NAN;therefore, NAN is

liable for the intentional and/or tortious and/or wrongful conduct of said employees,

agents and/or representatives pursuant to the doctrine of Respondent Superior and/or

principles of Agency.

                                        -2-
 Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 3 of 25               PageID #: 3


             8.      All events done by all ofthe above-named Defendants described herein

occurred within the City and County of Honolulu, State of Hawaii, and within the

jurisdiction and venue of United States District Court for the District of Hawaii.

                                        NATURE OF THE CASE


             9.      The basis of this case are violations and conspiracy to interfere and

violate Plaintiffs civil rights by all ofthe Defendants under 42 U.S.C.§ 1985(2)as it relates

to Plaintiffs enforcement of his legal rights resulting from wrongful termination from his

employment at NAN for being a whistleblower and for complaining about the

discrimination he experienced at NAN.It also involves violation of Title VII(42 U.S.C. §

2000e, et seq.) by NAN against Plaintiff.



                                 Jurisdiction and Venue


              10.    Subject matter jurisdiction is proper under 28 U.S.C. § 1331 since it

involves federal question. All ofthe Plaintiffs claims arise under federal law,specifically

42 U.S.C. § 1985(2) and Title VII (42 U.S.C. § 2000e, et seq.), including the U.S.

Constitution.


              11.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1),

(b)(2), and (c), since all ofthe events or omissions giving rise to the claims occurred in this

district.


              12.    Personal jurisdiction is proper in this Court because all of the above-

named Defendants have minimum contacts with the State of Hawaii because all of the


                                          -3-
 Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 4 of 25              PageID #: 4


Defendants live and do business in State ofHawaii and as such have direct contact with the

State of Hawaii. All of the Defendants and Plaintiff are residents of Hawaii.

             13.      Lastly,Plaintiffhas exhausted his administrative remedies in EEOC No.

486-2019-00542 when EEOC and HCRC have granted Plaintiff to pursue a court action.

                               FACTUAL BACKGROUND


             14.      Plaintiff is a forty(40) year old Serbian man who speaks with a heavy

accent when speaking in English.

             15.      Plaintiff is a licensed attorney who has been practicing in the area of

employment law and other general civil litigation for many years.

             16.      Plaintiff was hired by NAN on March 18, 2019 as an In-House

Litigation Counsel.

             17.      During his three(3) months employment with NAN,Plaintiff

repeatedly complained of, reported and refused to participate in illegal activities at NAN

committed by NAN and its owner Defendant Shin.

             18.      Plaintiff also complained of blatant and ongoing discrimination he

experienced during his employment at NAN because of his ethnicity and national origin.

             19.      These reports of illegal activities at NAN and Plaintiffs refusal to

engage in illegal activities were reported to NAN's owner and upper managers.

             20.      NAN's discrimination towards Plaintiff was also reported to NAN's

owner and upper managers.

            21.       On or about April 10, 2019, Nick Flores(Vice President of NAN)

                                          -4-
 Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 5 of 25            PageID #: 5


physically attacked Plaintiff and grabbed Plaintiffs hand in front of Defendant Shin

(Owner of NAN), Wyeth Matsubara (Vice President of NAN)and Trevor Tamashiro

(another NAN In-House counsel). They all witnessed this.

             22.    Mr. Flores attacked Plaintiff because he didn't like a legal opinion

Plaintiff was giving to NAN in warning Defendant Shin not to engage in blackmail.

             23.    Plaintiff warned Defendant Shin not to engage in a blackmail

scheme against Thomson Metal Fabrics(TMF)for the sole purpose of obtaining leverage

in civil litigation against TMF.

             24.    Defendant Shin and Mr. Flores came up with a scheme to try to

blackmail TMF and threaten to report TMF to the federal authorities unless TMF was

willing to pay monetary damages to NAN.

             25.    When Plaintiff explained the highly illegal nature of such a scheme,

Mr. Flores physically grabbed Plaintiff and told him to shut up.

             26.    When Plaintiff complained of the physical attack by Mr. Flores to

Defendant Shin, as owner ofthe company, who witnessed this physical act(other witness

were Mr. Matsubara and other in-house counsel, Trever Tamashiro) Defendant Shin

doubled down and engaged in further hostile and discriminatory behavior that included

making insults about Plaintiff's national origin.

             27.    Defendant Shin told Plaintiff that he is "too sensitive" and "worse

than the Americans" meaning "Serbians" are sensitive and weak.

            28.     Nothing was done to either rectify this physical assault, reprimand

                                        -5-
 Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 6 of 25              PageID #: 6


Mr. Flores or offer any sort of apology for the physical assault that Plaintiffjust suffered

at the hands of one of the executives ofthe company.

             29.    Things only got worse from there.

             30.    This incident happened in Mr. Matsubara's office.

             31.    Plaintiff had to physically free himself from Mr. Flores.

             32.     Plaintiff immediately complained to Defendant Shin and Mr.

Matsubara that this physical attack and subsequent discriminatory comments were

beyond inappropriate.

             33.    Defendant Shin told Plaintiff that he was weaker, more sensitive and

worse than Americans and that Plaintiff should shut up and get over it.

             34.    Later that day, Mr. Matsubara sent Plaintiff an email stating that

Plaintiff should not give Mr. Flores reasons to attack Plaintiff.

             35.    Nothing was done as a result of Plaintiffs complaints against Mr.

Flores and against Defendant Shin's discriminatory comments.

             36.    Plaintiff was forced to continue working alongside Mr. Flores and

Defendant Shin.


             37.    Neither Defendant Shin or Mr. Flores were disciplined, and

Plaintiffs complaints were not investigated.

              38.   However, Defendants Shin's discriminatory behavior and comments

did not stop at this incident and continued throughout Plaintiffs employment.

             39.    In Plaintiffs less than three(3) months with NAN,Plaintiff had at

                                         -6-
 Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 7 of 25             PageID #: 7


least four(4) private conversations with Defendant Shin where Plaintiff either reported

illegal behavior at NAN or refused to participate as NAN's attorney in illegal actions at

NAN.


             40.      The following are the concerns Plaintiff raised with Defendant Shin

from April 2019 to June 2019:

          a. Plaintiff told Defendant Shin not to try and cheat HART by trying to
             double dip and collect against HART and then turn run around and collect
             against the subcontractor. Defendant Shin had asked Plaintiff to do this and
             make these claims against the subcontractor and not disclose the claims to
             HART. Plaintiff refused, at which point Defendant Shin threatened
             Plaintiff with termination and directed ethnic insults towards Plaintiff.

          b. Plaintiff also expressed concerns that NAN and Defendant Shin were
             engaging in expressing inconsistent and dishonest positions in making
             claims against both TMF and HART for the sole purpose of monetary gain.
             When Plaintiff expressed his concerns regarding the, at minimum unethical
             behavior and attempt at double dipping at the expense oftaxpayers, once
             again he was faced with verbal abuse, ethnic slurs, retaliation and his job
             security was threatened.

          c. Plaintiff told Defendant Shin not to cheat on the section 801 ofthe federal
             contracting law where small business is favored by NAN trying to set up a
             shell company and then trying to use the shell company to gain a federal
             contract. Plaintiff repeatedly warned Defendant Shin to stop, and once
             again Defendant Shin responded with threats, hostile behavior and ethnic
             slurs.


          d. Plaintiff also openly complained about Defendant Shin's illegal schemes in
             obtaining federal government contracts. Plaintiff expressed concerns to Mr.
             Matsubara and Defendant Shin that their mentor-protege program for the
             purposes of obtaining federal contracts might be illegal and might result in
             the violation of federal laws since Plaintiff believed that this mentor-
             protege program was not an arms-length transaction. After Plaintiff
             expressed his concerns. Plaintiff suffered additional verbal abuse at the
             hands of Defendant Shin that involved being called stupid, simple, ignorant
             and ethnic slurs regarding Plaintiffs Serbia ethnicity. Plaintiff was also

                                         -7-
 Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 8 of 25              PageID #: 8


              threatened by Defendant Shin that he would be fired. Mr. Matsubara also
              relayed these threats to Plaintiff saying Defendant Shin will fire Plaintiff
              unless Plaintiff does what he is told.

          e. Plaintiff expressed to Defendant Shin Plaintiffs concerns regarding FBI
             interviewing NAN'S employees. Plaintifffound out from Trevor
              Tamashiro - NAN's other in-house counsel that several employees were
              approached by FBI. When Plaintiff asked Defendant Shin and Mr.
              Matsubara what was going on, he was threatened with his employment and
              told to mind his own business.

          f. Plaintiff told Defendant Shin that it's illegal to blackmail NAN's
             subcontractors by threatening to report them to the FBI if they do not pay.
          g. Plaintiff told Defendant Shin that Plaintiff could not represent Defendant
             Shin's friends who were just released from prison since that would be a
             conflict with the company since he was planning to hire these ex-prisoners.
             Defendant Shin personally asked Plaintiff to do this.
          h. Further, on several occasions. Defendant Shin blatantly lied and expressed
             facts to Plaintiff about certain legal matters that were simply not true.
              When Plaintiff told Mr. Matsubara that he would not be comfortable
              allowing Defendant Shin to testify untruthfully in any legal proceedings.
              Plaintiff once again suffered verbal abuse, ethnic slurs, retaliation and more
              threats regarding his job security by Defendant Shin and Mr. Matsubara.
          i. Plaintiffalso complained and expressed his concerns that Defendant Shin and
             Mr. Matsubara were taking a dishonest and purposely deceitful position
             towards NAN's surety bond representatives. Plaintiffadvised Mr. Matsubara
             to be honest with NAN's bond surety representatives and ask them for
             clarification as to who NAN will be using to represent them in their legal
             proceedings. Plaintiffs foremost concern was compliance with laws an
             regulations regardless ofthe company's bottom line. However,Plaintiff was
             retaliated against and again faced threats and ethnic slurs from Defendant
              Shin.




             41.      Every time Plaintiff would tell Defendant Shin any of the above.

Defendant Shin would get angry, verbally abusive and tell Plaintiff he was stupid, call him

an ethnic slur and threaten to fire Plaintiffif he didn't do what he was told. Defendant Shin


                                         -8-
 Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 9 of 25              PageID #: 9


told Plaintiffon several occasions that he was useless and then specifically ordered Plaintiff

not to write an email about documenting Plaintiffs concerns regarding Defendant Shin's

illegal schemes and behavior.

             42.     Plaintiff offered to document in writing all of his concerns.

             43.     Defendant Shin ordered Plaintiff not to document anything.

             44.     Plaintiff had these same exact conversations with the vice president

Matsubara who would tell Plaintiff to mind his own business, not document it and then

Mr. Matsubara would also threaten Plaintiffs employment by saying that Defendant

Shin is not happy with Plaintiff and that he is useless.

             45.     Plaintiff also repeatedly complained to NAN's management

regarding Defendant Shin's hostile and discriminatory behavior, including asking

Defendant Shin to stop engaging in directing ethnic and homophobic slurs towards

Plaintiff.

             46.     Several times Defendant Shin used homophobic slurs against Plaintiff

when Plaintiffrefused to do something illegal. Defendant Shin would taunt Plaintiffasking

him "what's the matter, are you sissy, you need to ask your boyfnend for a permission or

something"? Stop being gay and do it".

             47.     Defendant Shin also regularly engaged in directing ethnic slurs against

Plaintiff. On couple of occasions. Defendant Shin stated that if Plaintiff ever got a girl

pregnant in Hawaii, that girl's parents would disown her since the baby would look like

Plaintiff. Defendant Shin stated he would disown his kids ifthey brought back Serbian baby.

                                          -9-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 10 of 25                PageID #: 10


            48.     Plaintiff complained repeatedly about Defendant's Shin's illegal and

discriminatory conduct to NAN management, but nothing was done. Mr. Matsubara kept

saying Defendant Shin is owner and he can do whatever he wants.

            49.     There was one specific incident roughly one week before Plaintiff

was fired where he was on a conference call with Defendant Shin and present with

Plaintiff in the room were Mr. Matsubara and Mr. Okimoto.

             50.    During this phone call, Mr. Shin was calling Plaintiff stupid and

simple and basically verbally abusing Plaintiff because Plaintiff expressed the legal

opinion Defendant Shin didn't like.

            51.     When Plaintiff asked Defendant Shin to stop it, he got really angry,

started cursing and threatening Plaintiffs employment if he don't shut up and stop

complaining.

            52.     Once they got off the phone. Plaintifftold Mr. Matsubara and Mr.

Okimoto that this behavior was not acceptable.

            53.     They told Plaintiff to either take it or he would be fired.

            54.     From March 18, 2019 until June 10, 2019, Plaintiff complained

many times to executive officers of NAN (Wyeth Matsubara and Frank Okimoto and

Defendant Shin)about Defendant Shin's illegal schemes, law breaking and his hostile

and discriminatory behavior towards Plaintiff.

            55.     Defendant Shin regularly directed ethnic slurs, homophobic

comments and cursed at Plaintiff, calling him stupid Serbian, gay, ignorant and simple.

                                        - 10-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 11 of 25              PageID #: 11


             56.     When Plaintiff objected to this behavior, Defendant Shin told

Plaintiff to shut up or Defendant Shin would fire Plaintiff.

             57.     Mr. Matsubara and Frank Okimoto (President of NAN)told Plaintiff

on several occasions that Plaintiff must accept Defendant Shin's illegal and

discriminatory behavior and if Plaintiff didn't, NAN would fire him.

             58.     On one occasion, when Plaintiff warned Defendant Shin not to

engage in illegal behavior and refused to help Defendant Shin to engage in such

behavior. Defendant Shin told Plaintiff that he is useless. Defendant Shin continued to

tell Plaintiff that he is replaceable since Defendant Shin knows many attorneys who will

do his "dirty work" and that if Plaintiff keeps refusing, he will be easily replaced.

             59.     Then Defendant Shin continued to name such attorneys. One ofthe

attorneys Defendant Shin specifically named that does Defendant Shin's "dirty work" is

attorney Richard Wilson.

              60.    When Plaintiff warned Defendant Shin that he already once went to

jail and that Defendant Shin is already a convicted felon. Defendant Shin stated that he

"don't care, prison sentence was easy, and I only paid a small fine." Defendant Shin

said it was more than worth it considering how rich he became doing what he is doing.

             61.     Plaintiff regularly complained and requested that Defendant Shin

refrain from engaging in illegal schemes, and from ethnically insulting, cursing and

calling Plaintiff stupid, ignorant, gay or simple.

             62.     Thus,from the very beginning of Plaintiffs employment with NAN,

                                         - 11 -
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 12 of 25             PageID #: 12


Defendant Shin has engaged in what one could only describe as extremely hostile and

discriminatory behavior directed at Plaintiff because Plaintiff kept refusing to engage in

illegal behavior as directed by Defendant Shin.

             63.    A few days before June 10,2019, Plaintiff sent an email to Mr.

Matsubara complaining about the hostile work environment at NAN.

             64.    In the end, as a result of Plaintiffs whistleblowing about Defendant

Shin's illegal schemes and law breaking (as described -including but not limited to - in

paragraph 40 ofthis Complaint), and because of Plaintiffs complaints about Defendant

Shin's discriminatory behavior towards Plaintiff, on June 10, 2019,Plaintiff was fired

without cause or any explanation.

             65.    Subsequently, when Plaintiff applied for unemployment insurance a

week later, NAN only said that Plaintiff was laid off and not fired for any cause.

             66.    On September 13, 2019, Plaintiff filed a discrimination and

retaliation complaint with the U.S. Equal Employment Opportunity Commission

("EEOC")against Defendant NAN and Defendant Shin.(EEOC Charge No. 486-2019-

00542)

             67.    On October 23, 2019, Plaintiff filed a Complaint with State of

Hawaii Circuit Court against Defendant NAN and Defendant Shin which received local

press coverage. Plaintiff, among other things, alleged wrongful termination due to him

being a whistleblower among other things.

            68.     During that time and until the time of filing this Complaint, Plaintiff

                                        -12-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 13 of 25               PageID #: 13


is currently working as an attorney at a Honolulu law firm.

               69.   Defendant Wilson has his own law office. He currently represents

 NAN and its owner Defendant Shin against the Plaintiff.

               70.   Upon information and belief, Defendant Wilson, NAN and

 Defendant Shin conspired to have Defendant Shin call Plaintiffs boss at his firm and

threaten Plaintiffs employment to apply pressure through Plaintiffs boss in order to get

 Plaintiff to drop the lawsuit and his EEOC complaint.

              71.    As a result, on November 1,2019, Defendant Shin, in conspiracy

and on instruction by NAN and Defendant Wilson, called Plaintiffs boss at the law firm.

              72.    Defendant Shin left Plaintiffs boss a voicemail requesting that he

call Defendant Shin back.


              73.    Plaintiffs boss has no business or current personal relationship with

Defendant Shin.


              74.    Defendant Shin had no reason to have called Plaintiffs boss other

than to deter, harass, intimidate, threaten and/or retaliate against Plaintiff by applying

pressure through Plaintiffs boss to get Plaintiff terminated in order to get him to drop his

State of Hawaii Circuit Court lawsuit and EEOC complaint against Defendant NAN and

Defendant Shin.


              75.    Defendant NAN and Defendant Shin were motivated in this attempt

by their discriminatory animus based on national origin towards Plaintiff and their need

for retaliation.


                                         - 13-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 14 of 25               PageID #: 14


              76.    Plaintiff was deterred, harassed, intimidated, threatened and

 retaliated by Defendants Shin, NAN and Wilson conspiring to call and calling his boss

 after Plaintiff filed his State of Hawaii Circuit Court Complaint and EEOC charge

 against NAN and Defendant Shin. Plaintiff suffered emotional distress and anxiety from

 being extremely concerned and afraid that Defendant Shin and NAN and Defendant

 Wilson are trying to take away his current employment as a result of Plaintiff filing his

 lawsuit and EEOC complaint against NAN and Defendant Shin.

              77.    Plaintiffs employment is his only source ofincome and support.

             78.     After this November 1, 2019 call to Plaintiffs boss. Defendant Shin

and NAN decided to try again to deter, intimidate, harass and threaten Plaintiff as a result

of Plaintiff filing his lawsuit and EEOC complaint.

             79.     Defendant Dwyer is a State of Hawaii licensed attorney and "Of

Counsel" with Case Lombardi & Pettit. He has an undisclosed relationship with

Defendant Shin.


             80.     Few weeks later after the first attempt to contact Plaintiffs boss.

Defendant Dwyer,in conspiracy and on instruction by NAN and Defendant Shin,

approached Plaintiffs boss at a social ftmction and asked Plaintiffs boss if there is

anything he could do to make this lawsuit and EEOC complaint go away.

             81.     Defendant Dwyer conspired with Defendant Shin and NAN,who

were motivated by their ethnic and national origin bias against Plaintiff, to deter, harass,

intimidate, threaten and/or retaliate against Plaintiff by trying to influence Plaintiffs

                                         -14-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 15 of 25             PageID #: 15


boss to apply pressure through threatening Plaintiffs employment in order for Plaintiff

to drop his lawsuit and EEOC charge.

              82.     Once again, Plaintiff was deterred, harassed, intimidated, threatened

and retaliated by Defendant Shin, NAN and Defendant Dwyer approaching Plaintiffs

boss to threaten Plaintiffs employment after Plaintiff filed his State of Hawaii

Complaint and EEOC charge against NAN.Plaintiff suffered emotional distress and

anxiety from being extremely concerned and afraid that Defendant Shin, NAN and

Defendant Dwyer are trying to take away his current employment as a result of Plaintiff

filing his lawsuit and EEOC complaint against NAN.

              83.     However,this determent, harassment, intimidation, threats and

retaliation did not stop here. Few months later. Plaintiff notified Defendant Wilson that

Plaintiff will be filing a federal civil rights lawsuit against Defendant Wilson, Defendant

Shin, NAN and Defendant Dwyer for violation of Plaintiffs civil rights.

              84.     Literally few days later. Defendant Wilson, Defendant Shin, NAN

and Defendant Revere conspired to deter, harass, intimidate and threaten Plaintiff as

result of his intention to file his federal civil rights lawsuit.

              85.     Defendant Wilson and Defendant Revere, in conspiracy and assisted

by Defendants Shin and NAN,emailed and called a named partner at Plaintiffs firm.

Defendant Wilson and Defendant Revere complained about Plaintiff and his intention to

file a federal civil rights lawsuit, made up bunch offactual lies about Plaintiffs character

and behavior and defamed Plaintiff to the partners of his firm by making false

                                           -15-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 16 of 25              PageID #: 16


accusations about Plaintiffs character and behavior.

             86.     Because of that, Plaintiffs current standing in his firm and possible

future partnership was threatened and brought in question once Plaintiffs boss found

about false allegations made by Defendant Wilson and Defendant Revere, in conspiracy

and assisted by Defendants Shin and NAN. Additionally, Plaintiffs standing and

reputation in his firm have been damaged by actions of the Defendant Wilson and

Defendant Revere, in conspiracy and assisted by Defendants Shin and NAN.

             87.     Defendant Wilson and Defendant Revere, in conspiracy and assisted

by Defendants Shin and NAN deterred, harassed, intimidated, threatened and/or

retaliated against Plaintiff by trying to influence Plaintiffs boss to apply pressure

through threatening Plaintiffs employment in order for Plaintiff to drop his intention of

filing a federal civil rights lawsuit against them.

              88.    Once again. Plaintiff was deterred, harassed, intimidated and

threatened by Defendant Shin, NAN,Defendant Wilson and Defendant Revere

approaching Plaintiffs bosses at his firm to threaten Plaintiffs employment after

Plaintiff notified Defendant Wilson of his intention to file a federal civil rights lawsuit

against the Defendants.

              89.    Plaintiff was also defamed by Defendants Wilson and Revere in

conspiracy with Defendants Shin and NAN in the eyes of his partners at his firm.

             90.     Plaintiff suffered emotional distress and anxiety from being

extremely concerned and afraid that Defendant Shin, NAN,Defendant Wilson and


                                         - 16-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 17 of 25              PageID #: 17


Defendant Revere are trying to take away his current employment as a result of

Plaintiffs intention of filing a federal civil rights lawsuit.

             91.     Plaintiffs employment is his only source ofincome and support.

                              Count I: Violation of 42 U.S.C. S 1985(2)
                              (Against Defendants Shin, Wilson and NAN)

             92.     Plaintiff incorporates by reference the preceding paragraphs of this

Complaint.

             93.     Defendants Shin, Wilson and NAN obstructed justice through

intimidation of a party (Plaintiff) in violation of42 U.S.C. § 1985(2).

             94.     Defendants Shin, Wilson and NAN conspired to deter Plaintiff and

retaliate against him from further pursuing his EEOC complaint and subsequent federal

lawsuit (after EEOC has issued its determination) by intimidation and threats by

threatening Plaintiffs employment by Defendant Shin (in conspiracy and assistance with

NAN and Defendant Wilson)calling his boss in order to get him fired and apply pressure

through Plaintiffs employment to drop his EEOC complaint against Defendant NAN

and Defendant Shin.

             95.     Further, Defendants Shin, Wilson and NAN conspired for the

purpose ofimpeding, hindering, obstructing, or defeating the due course ofjustice in

State of Hawaii, with intent to deny Plaintiff the equal protection of the laws, and to

injure him or his property for lawfully enforcing Plaintiffs rights(when Plaintiff filed

his State of Hawaii Circuit Court Complaint against Defendant NAN and Defendant

Shin)to the equal protection of the laws. Defendant NAN and Defendant Shin were
                                          -17-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 18 of 25            PageID #: 18


motivated in this attempt by their discriminatory animus based on national and ethnic

origin of the Plaintiff.

             96.     Plaintiff was deterred, harassed, intimidated, threatened, impeded,

hindered, obstructed and retaliated by Defendants Shin, NAN and Wilson when

Defendant Shin (in conspiracy with NAN and Defendant Wilson) called his boss (after

Plaintiff filed his State of Hawaii Circuit Court Complaint and EEOC charge against

NAN and Defendant Shin)in order to get him fired and apply pressure through

Plaintiffs employment to drop his legal actions against Defendant NAN and Defendant

Shin.


              97.    As a direct and proximate cause of Defendants Shin, NAN and

Wilson's actions. Plaintiff suffered emotional distress and anxiety from being extremely

concerned and afraid that Defendant Shin and NAN and Defendant Wilson are trying to

take away his current employment as a result of Plaintiff filing his lawsuit and EEOC

complaint against NAN and Defendant Shin.

              98.    As a direct and proximate cause of Defendants Shin, NAN and

Wilson's actions. Plaintiffs standing, reputation and future of his employment and

future partnership in his law firm was threatened and brought in question damaging

Plaintiffs property interest in his continuing employment.

              99.    Plaintiffs was damaged in an amount to be proven at trial.




                                        - 18-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 19 of 25             PageID #: 19


                            Count II: Violation of 42 U.S.C. S 1985(2)
                             (Against Defendants Shin, NAN and Dwyer)

              100. Plaintiff incorporates by reference the preceding paragraphs of this

Complaint.

              101.    Defendants Shin, Dwyer and NAN obstructed justice through

intimidation of a party (Plaintiff) in violation of42 U.S.C. § 1985(2).

              102.    Defendants Shin, Dwyer and NAN conspired to deter Plaintiff and

retaliate against him from further pursuing his EEOC complaint and subsequent federal

lawsuit(after EEOC has issued its determination) by intimidation and threats by

threatening Plaintiffs employment by Defendant Dwyer(in conspiracy and on

instruction with NAN and Defendant Shin) approaching Plaintiffs boss at a social

function and asking Plaintiffs boss if there is anything he could do to make the lawsuit

and EEOC complaint against NAN and Defendant Shin go away.

              103.    Further, Defendants Shin, Dwyer and NAN conspired for the

purpose ofimpeding, hindering, obstructing, or defeating the due course ofjustice in

State of Hawaii, with intent to deny Plaintiff the equal protection of the laws, and to

injure him or his property for lawfully enforcing Plaintiffs rights(when Plaintiff filed

his State of Hawaii Circuit Court Complaint against Defendant NAN and Defendant

Shin)to the equal protection of the laws. Defendant NAN and Defendant Shin were

motivated in this attempt by their discriminatory animus based on national and ethnic

origin of the Plaintiff.



                                        -19
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 20 of 25             PageID #: 20


             104.     Plaintiff was deterred, harassed, intimidated, threatened, impeded,

hindered, obstructed and retaliated by Defendants Shin, NAN and Dwyer when

Defendant Dwyer(in conspiracy with NAN and Defendant Shin) approached Plaintiffs

boss at a social function and asking Plaintiffs boss if there is anything he could do to

make the lawsuit and EEOC complaint against NAN and Defendant Shin go away.

Defendants Shin, Dwyer and NAN attempted to apply pressure through Plaintiffs

employment to drop his legal actions against Defendant NAN and Defendant Shin.

             105.     As a direct and proximate cause of Defendants Shin, NAN and

Dwyer's actions. Plaintiff suffered emotional distress and anxiety from being extremely

concerned and afraid that Defendant Shin and NAN and Defendant Dwyer are trying to

take away his current employment as a result of Plaintiff filing his lawsuit and EEOC

complaint against NAN and Defendant Shin.

             106.     As a direct and proximate cause of Defendants Shin, NAN and

Dwyer's actions. Plaintiffs standing, reputation and future of his employment and future

partnership in his law firm was threatened and brought in question damaging Plaintiffs

property interest in his continuing employment.

             107.    Plaintiffs was damaged in an amount to be proven at trial.

                      Count III: Violation of 42 U.S.C. S 1985(21
                    (Against Defendants Shin, Wilson, Revere and NAN)

             108.    Plaintiff incorporates by reference the preceding paragraphs of this

Complaint.



                                         -20-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 21 of 25             PageID #: 21


             109.   Defendants Shin, Wilson, Revere and NAN obstructed justice

through intimidation of a party (Plaintiff) in violation of42 U.S.C. § 1985(2).

             110.   Defendants Shin, Wilson, Revere and NAN conspired to deter

Plaintiff and retaliate against him from further pursuing his EEOC complaint and federal

civil rights lawsuit by intimidation and threats by threatening Plaintiffs employment.

             111. Few days after Plaintiff notified Defendant Wilson that Plaintiff will

be filing a federal civil rights lawsuit against Defendant Wilson, Defendant Shin, NAN

and Defendant Dwyer for violation of Plaintiffs civil rights. Defendant Wilson and

Defendant Revere, in conspiracy and assisted by Defendants Shin and NAN,emailed and

called a named partner at Plaintiffs firm. Defendant Wilson and Defendant Revere

complained about Plaintiff and his intention to file a federal civil rights lawsuit, made up

bunch oflies about Plaintiff and defamed Plaintiff to the partners of his firm by making

false accusations about Plaintiffs conduct.


             112.   Defendant Wilson and Defendant Revere, in conspiracy and assisted

by Defendants Shin and NAN,did this in order to get Plaintiff fired and/or apply

pressure through Plaintiffs employment to drop his EEOC complaint and not purse the

federal lawsuit as intended against Defendants NAN,Shin, Wilson and Dwyer.

             113.   Plaintiff was deterred, harassed, intimidated, threatened and/or

retaliated from pursuing his federal lawsuit by Defendant Wilson and Defendant Revere,

in conspiracy and assisted by Defendants Shin and NAN,emailing and calling a named

partner at Plaintiffs firm and defaming Plaintiff in order to get him fired and apply

                                         -21 -
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 22 of 25             PageID #: 22


pressure through Plaintiffs employment to drop his legal actions against Defendants

NAN,Shin, Wilson and Dwyer.

             114.   As a direct and proximate cause of Defendants Shin, Wilson, Revere

and NAN's actions. Plaintiff suffered emotional distress and anxiety from being

extremely concerned and afraid that Defendants Shin, Wilson, Revere and NAN are

trying to take away his current employment as a result of Plaintiff intending to file his

federal lawsuit against Defendants NAN,Shin, Wilson and Dwyer.

             115.   As a direct and proximate cause of Defendants Shin, Wilson, Revere

and NAN's actions. Plaintiffs standing, reputation and future of his employment and

future partnership in his law firm was threatened and brought in question damaging

Plaintiffs property interest in his continuing employment.

             116. Plaintiffs current standing in his firm and possible future partnership

was threatened and brought in question once Plaintiffs boss found about false

allegations made by Defendant Wilson and Defendant Revere, in conspiracy and assisted

by Defendants Shin and NAN. Additionally, Plaintiffs standing and reputation in his

firm have been damaged by actions of the Defendant Wilson and Defendant Revere, in

conspiracy and assisted by Defendants Shin and NAN.

             117.   Plaintiffs was damaged in an amount to be proven at trial.

                 Count IV; VIOLATION OF Title VII(42 U.S.C. S 2000e. et sea.)
                                       (Against Defendant NANi


             118.   Plaintiffs incorporate by reference the preceding paragraphs of this

Complaint.
                                        -22-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 23 of 25            PageID #: 23


             119.   Defendant NAN violated Title VII(42 U.S.C. § 2000e, et seq.) by not

preventing Defendant Shin(owner of NAN and Plaintiffs supervisor) from unwelcomed,

severe, continuing and pervasive harassment ofPlaintiff based on Plaintiffs race, national

and ethnic origin; and retaliating against Plaintiff after Plaintiff complained about such

discriminatory treatment and after Plaintiff being a whistleblower.

             120.    Defendant Shin continuously and pervasively directed ethnic and

homophobic insults and slurs at Plaintiff during Plaintiffs entire length ofemployment at

NAN.


             121.   These ethnic and homophobic insults were especially severe and

pervasive after each time Plaintiff refused to engage in illegal activity as directed by

Defendant Shin.


             122.   Plaintiff even suffered a physical attack from NAN's vice president

Nick Flores after which Defendant Shin called Plaintiff"weaker than Americans" as result

of his complaint about the attack.

             123.   Despite Plaintiff complaints to Defendant Shin and other NAN's

management, nothing was done to rectify this discriminatory harassment.

             124.   After complaining several times.Plaintiff was told on several occasions

by Defendant Shin and other NAN's executives that Plaintiff must endure the offensive

conduct as a condition of his continuing employment.




                                       -23
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 24 of 25               PageID #: 24


             125. In the end, Defendant NAN, on direction by Defendant Shin, fired

Plaintiff due to Plaintiff being a whistleblower and because of his complaints about the

discriminatory harassment he suffered during his employment at NAN.

             126.     As a direct and proximate cause of Defendants NAN's actions.

Plaintiff suffered emotional distress, economic, general and special damages in an

amount to be proven at trial.

WHEREFORE,Plaintiffs demand and pray for judgment:

             A.      On all Counts against ALL Defendants;

             B.      For an award ofspecial,economic,consequential and general damages

                  to Plaintiffs from ALL Defendants,jointly and severally,in amount proven

                  at trial;

             C.      Punitive damages, as the facts aforesaid constitute extreme and

                  outrageous behavior which exceeds all bounds usually tolerated by decent

                  society. In committing the above acts and omissions. Defendants acted

                  wantonly and/or oppressively and/or with such malice as implies a spirit of

                  mischiefor criminal indifference to civil obligations and/or there has been

                  some willful misconduct that demonstrates that entire want ofcare which

                  would raise the presumption ofa conscious indifference to consequences,

                  justifying an award of punitive or exemplary damages in an amount to be

                  proven at trial;

             D.      Attorneys' Fees and costs pursuant to the applicable law;

                                         -24-
Case 1:20-cv-00283-JAO-WRP Document 1 Filed 06/22/20 Page 25 of 25          PageID #: 25


            E.   Such other and further relief as this Court deemsjust and proper.



DATED: Honolulu, Hawaii; June 19,202


                                    /s/ BOSKO PETRICEVIC
                                     Pro-se




                                     -25-
